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                               Shenwick letter Pg 1 of 2


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                                                                          January 10, 2019

 Via e-mail to howard@summacapital.com
 Howard Schulder, Esq.
 President
 Summa Capital Corp.
 Empire State Building
 350 Fifth Avenue, Suite 7612
 New York, NY 10118

         Re:    In re Bagbag, Case No. 08-12667-mew, United States Bankruptcy Court
 for the Southern District of New York (the “Bankruptcy Court”)

 Dear Howard,

 This law firm represents Boaz Bagbag (the “Debtor”). The Debtor has indicated that he
 was recently contacted regarding the payment of a judgment entered on June 10, 2010
 that your company, Summa Capital Corp. (“Summa”) obtained against the Debtor in the
 above–referenced bankruptcy case. The Debtor’s position is that Summa’s judgment was
 fully satisfied through the sale of Pace Product Solutions, Inc. (“Pace”)’s inventory and
 the collection of its accounts receivable, and that no monies are due and owing to Summa
 from the Debtor, notwithstanding the judgment.

 It should be noted that: (1) the Debtor did not receive notice of the auction pursuant to
 NY Uniform Commercial Code (“UCC”) § 9-611 (which is not waivable prior to default
 pursuant to NY UCC § 9-624(a); (2) the auction was not held in a commercially
 reasonable manner; (3) the Debtor alleges that Summa sold Pace’s inventory and did not
 account for its sales in offsetting the judgment against him; (3) the auctioneer and
 Summa did not prepare an accounting of the auction sale as required by a stipulation and
 foreclosure order so ordered by the Bankruptcy Court or identify the amount of monies
 generated by the sale of Pace’s inventory; and (4) since the sale of Pace’s inventory and
 collection of its accounts receivable should have generated sufficient monies to pay the
 monies due Summa, no monies are due or owing from the Debtor to Summa.

 This law firm has reviewed the files and Pacer filings for the Debtor’s and Pace’s
 bankruptcy filings, and we believe that no monies are owed by the Debtor to Summa.

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 With respect to another creditor, this law firm made a motion to reopen the Debtor’s
 bankruptcy case, which was entered on June 6, 2018 [Doc. No. 58], and if this matter
 cannot be resolved (with Summa providing the Debtor with a release) within ten (10)
 days from the date of this letter, we will commence an adversary proceeding against
 Summa for proposed findings of fact and conclusions of law: (1) ordering Summa to
 provide a full accounting of its claim against the Debtor and any offsetting amounts
 collected from Pace and Worldwide Flash Auto Parts, Inc. (“Flash”)’s inventory and
 accounts receivable, including, but not limited to, the proceeds from Summa’s public
 auction of Pace’s assets on Oct. 16, 2008; (2) for a declaratory judgment that there is a
 rebuttable presumption that Summa’s public auction of Pace’s assets was not held in a
 commercially reasonable manner; (3) for a declaratory judgment that since there is a
 rebuttable presumption that the auction was not held in a commercially reasonable
 manner, there is a rebuttable presumption that no monies are due or owing from Debtor
 to Summa; (4) issuing an injunction barring Summa’s collection of its judgment against
 the Debtor until it can successfully rebut the presumption that the public auction was not
 held in a commercially reasonable manner in the Bankruptcy Court or a New York court
 of competent jurisdiction; and (5) authorizing discovery of Summa’s loans to Pace, the
 value of Pace’s inventory and accounts receivable and Summa’s disposition of Pace’s
 assets.

 For your review, attached please find a draft of a Summons and Complaint by the Debtor
 against Summa and an affidavit by the Debtor. Your attention to this matter is
 appreciated.



                                                              Sincerely,
                                                              /s/ James H. Shenwick

 Attachments




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